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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JEAN M. HOBLER
   MARILEE MILLER
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900
 6 Attorneys for Plaintiff
   The United States of America
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-353 MCE
12                                Plaintiff,               STIPULATION AND ORDER TO
                                                           VACATES STATUS CONFERENCE,
13          v.                                             REFER TO PROBATION FOR PSR,
                                                           AND SET SENTENCING DATE
14   SEAN MCCLENDON, et al,
15                                Defendant(s).
16
17          The parties, through undersigned counsel, stipulate that the sentencing status conference as to

18 Defendant Sean McClendon scheduled for June 25, 2015, be vacated, and that Defendant Sean

19 McClendon’s case be continued to September 17, 2015, at 9:00 a.m. for the imposition of judgement
20 and sentence. Defendant pleaded guilty pursuant to a plea agreement that contemplated his
21 testimony at the trial of Defendant Anthony Salcedo, which just concluded. Thus, there is no further
22 impediment to proceeding to senencing for Defendant McClendon.
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             Case 2:11-cr-00353-MCE Document 199 Filed 06/29/15 Page 2 of 2



 1          It is also stipulated that Defendant McClendon be referred to U.S. Probation for investigation

 2 and preparation of a Presentence Report and that the Clerk of Court serve on counsel for the parties
 3 the schedule for the filings of the draft and final PSR, objections and motions.
 4
 5 Dated: June 18, 2015                             BENJAMIN B. WAGNER
                                                    United States Attorney
 6
                                                    /s/ Jean M. Hobler
 7                                                  JEAN M. HOBLER
                                                    MARILEE MILLER
 8                                                  Assistant U.S. Attorneys
 9
10 Dated: June 18, 2015                          DONALD H. HELLER
                                                 A LAW CORPORATON
11
12                                               /s/ Donald H. Heller
                                                 Attorney for Defendant Sean McClendon
13
   Electronically filed by Jean M. Hobler with permission of all counsel to this stipulation and proposed
14 order. /s/ Jean M. Hobler
15
16
17                                               ORDER

18          IT IS SO ORDERED.

19 Dated: June 29, 2015
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